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                                    UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                   www.flsb.uscourts.gov
                                                       CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                    Original Plan
                             ■   2AP                                      Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                          Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Roberto Main Lopez                                     JOINT DEBTOR:                                       CASE NO.: 19-12440-RAM
SS#: xxx-xx- 8026                                                 SS#: xxx-xx-
I.          NOTICES
            To Debtors:             Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                    and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                    Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                    filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:           Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                    be reduced, modified or eliminated.
            To All Parties:         The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                    box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                        Included            ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                        Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                       Included            ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.       $140.27                  for months   1   to 36 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                      NONE     PRO BONO
        Total Fees:                   $3650.00              Total Paid:             $490.00           Balance Due:           $3160.00
        Payable                  $98.75          /month (Months 1         to 32 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + $150 Cost = $3650

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                   ■    NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL: ■ NONE
            C. LIEN AVOIDANCE                    ■   NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                           NONE
                       ■   The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                           request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                           personam as to any codebtor(s) as to these creditors.
                           Other:

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                                                                              Debtor(s): Roberto Main Lopez
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                             Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             Summer Bay Partnersh           6493                         Summer Bay Partnership 25 Timeshare
                       1.
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             PennyMac Loan Services         7402                         5002 SW 102 Avenue, Miami, FL
                       1.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                         ■   NONE
            B. INTERNAL REVENUE SERVICE:                          ■    NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                               ■    NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $27.50        /month (Months       1         to 32 )
                       Pay         $126.25        /month (Months 33              to 36 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                      ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■    NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                             ■    NONE
VIII.       NON-STANDARD PLAN PROVISIONS                          ■    NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                 Debtor                                                                Joint Debtor
  Roberto Main Lopez                                                  Date                                                                     Date



  /s/Robert Sanchez                                  May 9, 2019
    Attorney with permission to sign on                        Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.



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